                                                                                       Case 22-10522-JTD                             Doc 254                 Filed 01/10/23              Page 1 of 2
                                                                                                                                   Claims Register as of 01/10/2023
                                                                                                                                             Sorted Alphabetically



  Claim
   No.                      Name                                    Attention                                  Address 1                Address 2             City    State        Zip   Date Filed    Amount Class   Total Amount       Secured   Priority   Unsecured   Admin Priority
    11    A1 Services, Inc                     Attn: Robert M. Woods                             7373 S 6th St                                       Oak Creek       WI       53154       12/21/2022 Admin Priority            $322.52                                           $322.52
    12    Aggie's Bakery and Cake Shop         Attn: Rachel Schmidbauer                          7328 West Greenfield Avenue                         West Allis      WI       53214       12/27/2022 Admin Priority            $205.50                                           $205.50
     6    Clark Hill PLC                                                                         500 Woodward Avenue, Suite 3500                     Detroit         MI       48226       09/12/2022 Admin Priority         $38,887.15                                       $38,887.15
     1    Customer Direct, LLC                 Attn: Gina O'Connor                               11872 Westline Industrial Drive      Suite 160      St. Louis       MO       63146       08/17/2022 Admin Priority          $5,187.70                                         $5,187.70
    10    Digi Mac Solution, Inc                                                                 9800-D Topanga Canyon Blvd           #7             Chatsworth      CA       91311       11/28/2022 Admin Priority          $1,242.25                                         $1,242.25
          Global Water Technology [Lakeland
    2     Chemical Specialties Inc]            Attn: Stephanie Barnes                            354 West Armory Drive                               South Holland   IL       60473       08/25/2022 Admin Priority           $195.52                                            $195.52
    7     Helm Service                         Attn: Tara Burris, Michele Heck and Dale Thomas   2279 Yellow Creek Rd                                Freeport        IL       61063       09/26/2022 Admin Priority         $1,228.00                                          $1,228.00
    9     Milwaukee Draft Works LLC            Attn: Kent Rosenthal                              2912 B. 84th Street                                 Milwaukee       WI       53222       10/21/2022 Admin Priority         $1,395.24                                          $1,395.24
          Paul J. Haussman d/b/a Light Ideas
    5     [Marie L. Haussman]                                                                    4203 Nagawicka Rd                                   Hartland        WI       53029       09/01/2022 Admin Priority           $675.84                                            $675.84
    4     Sonifi Solutions, Inc.               Attn: Stephen J. Guzzetta, Esq.                   3900 West Innovation St                             Sioux Falls     SD       57107       08/29/2022 Admin Priority           $655.48                                            $655.48
    3     Sysco Corp.                          Attn: Jack Lundstedt                              655 Buttercup Trce                                  Johns Creek     GA       30022       08/29/2022 Admin Priority        $11,618.98                                         $11,618.98
    8     Wisconsin Backflow Testing           Attn: Dan Draheim                                 N614 Greendale Rd.                                  Hortonville     WI       54944       10/10/2022 Admin Priority           $827.75                                            $827.75




In re: Rider Hotel, LLC
Case Number: 22-10522 (JTD)                                                                                                                                                                                                                                                   Page 1 of 1
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